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                                                                                 2024 Sep-27 AM 10:11
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA

                                                                  PFE/WRM: OCT. 2024
                                                                               GJ#27



               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           ) Case No.
                                             )
JAYLIN ARTEZ PATTON                          )

                                  INDICTMENT

                                  COUNT ONE:
                         Felon in Possession of a Firearm
                              18 U.S.C. § 922(g)(1)

      The Grand Jury charges:

      That on or about the 4th day of September 2024, in Jefferson County, within

the Northern District of Alabama, the defendant,

                              JAYLIN ARTEZ PATTON,

knowing he had previously been convicted of a crime punishable by imprisonment

for a term exceeding one year, knowingly possessed a firearm, that is, at Glock .40

caliber pistol, and the firearm was in and affecting interstate and foreign commerce,

in violation of Title 18, United States Code, Section 922(g)(1). PATTON was

previously convicted on February 2, 2021, in the District Court of Jefferson County,

Alabama, of the offense of Unlawful Distribution of a Controlled Substance, in case
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number DC 2019-11936, the said offense being a crime punishable by imprisonment

for a term exceeding one year.

                                 COUNT TWO:
                           Possession of a Machinegun
                         18 U.S.C. § 922(o) and 924(a)(2)

      The Grand Jury charges:

      That on or about the 4th day of September 2024, in Jefferson County, within

the Northern District of Alabama, the defendant,

                              JAYLIN ARTEZ PATTON,

did knowingly possess a machinegun, that is, a Glock .40 caliber pistol modified by

the installation of a machinegun conversion device designed to shoot automatically

more than one shot, without manual reloading, by a single function of the trigger, in

violation of Title 18, United States Code, Section 922(o).

                         NOTICE OF FORFEITURE
                   18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)

       1.    The allegations contained in Count One and Two of this Indictment are

hereby re-alleged and incorporated by reference for the purpose of alleging

forfeitures pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c).

       2.    Upon conviction of the offenses charged in Count One and Two of this

Indictment the Defendant shall forfeit to the United States of America, pursuant to

18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), all firearms and ammunition involved

in or used in the commission of the offenses, including, but not limited to, a Glock
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.40 caliber firearm, bearing serial number AAED123, and any associated

magazines and ammunition.

A TRUE BILL


/s/ Electronic Signature______________
FOREPERSON OF THE GRAND JURY


                                           PRIM F. ESCALONA
                                           United States Attorney


                                            /s/Electronic Signature_______
                                            WILLIAM R. MCCOMB
                                            Assistant United States Attorney
